Dear Honorable Kamas,
The Attorney General is in receipt of your request for an opinion wherein you ask the following two (2) questions:
"1. Do the provisions of 70 O.S. 6-101[70-6-101] et seq., andparticularly 70 O.S. 6-103 and 70 O.S. 6-122 apply to employees ofOklahoma Regional Education Service Centers where such employees aresupervised by the State Department of Education but said employees arepaid by a public school district as the local education agency for suchfunds allocated by the State Department of Education?
 "2. Does the agreement to act as fiscal agent and the payment ofsalaries to service center employees make the local education agency anemployer of such teachers within the meaning of the tenure and dismissalprovisions of the above cited statutory provisions?"
A teacher is defined in Title 70 O.S. 1-116(1) (1977) as follows:
  "(1) Teacher: Any person who is employed to serve as district superintendent, county superintendent, principal, supervisor, counselor, librarian, school nurse or classroom teacher, as in any other instructional, supervisory or administrative capacity is defined as a teacher. Such person shall not be deemed qualified unless he or she holds a valid certificate, issued by and in accordance with the rules and regulations of the State Board of Education, to perform the particular services for which he or she is employed."
70 O.S. 6-103.1 lists those employees that are exempt from the procedural safeguards of the Act. Those exemptions being; (1) substitute teachers, (2) adult education teachers; (3) teachers employed in positions fully funded by a Federal or private grant; (4) teachers employed on temporary contracts, and (5) county superintendents of schools.
Therefore, unless an employee would fall within the ranks of the exemptions herein listed, the provisions of Title 70 O.S. 6-103.2 through 70 O.S. 6-103.15 (1977) would apply. This assumes, of course, the employment of qualified individuals which would include those employees into the realm of "teacher" as defined in 70 O.S. 1-116(1), and subject to the provisions of 70 O.S. 6-103.2 through 70 O.S. 6-103.15.
The local school district acts merely as a fiscal agent for the State Board of Education. The terms of the contract between the State Department of Education and the local school districts that you enclosed with your opinion request reserve certain powers and functions to the State Department of Education. The fourth paragraph of the contract states:
  "The supervisory responsibility of the State Department of Education shall include the right and duty to promulgate administrative and operational guidelines governing personnel of the Service Center, including, but not limited to, the granting of tenure, the dismissal of employees, the classification of employees as to temporary or permanent status, designation of holidays, provision for annual leave and sick leave, job qualifications and requirements both for certified and non-certified employees, salary schedules and determination of applicability of schedules to particular employees, and employment of new or additional personnel."
The contract further provides, in the second paragraph that:
  "The local education agency agrees to serve only as fiscal agent and to permit the Center to operate as provided for by state law, and also in accordance with the State Board of Education rules and regulations promulgated for the operation of the Regional Education Service Centers."
Both the local school district and the State Board assume certain responsibilities under the contract. The local school districts obligations under the contract include, but are not necessarily limited to, acting as the fiscal agent of the regional service centers. The State Board has reserved to itself supervisory control over the employees of the regional service centers and should, therefore, be apportioned the responsibility for assuring that the professional staff entitled to the benefits of 70 O.S. 6-103.1 through 70 O.S. 6-103.15 are accorded their rights.
It is, therefore, the opinion of the Attorney General that theprovisions of 70 O.S. 6-103.2 through 70 O.S. 6-103.15 (1977) apply toemployees of Oklahoma Regional Education Service Centers, and that theagreement to act as fiscal agent by local education agencies does notmake the local agency an employer of such teachers within the meaning ofthe tenure and dismissal provisions of 70 O.S. 6-103.2 through 70 O.S.6-103.15.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
JOHN F. PERCIVAL, ASSISTANT ATTORNEY GENERAL